Filed 06/09/21                                     Case 21-20922                                            Doc 32




                 1   20
                     SCHEER LAW GROUP, LLP
                 2
                     JOSHUA L. SCHEER #242722
                 3   REILLY D. WILKINSON #250086
                     155 N. Redwood Drive, Suite 100
                 4   San Rafael, CA 94903
                     Telephone: (415) 491-8900
                 5   Facsimile: (415) 491-8910
                 6   SLG File No.: A.065-033S-B
                     Attorneys for ACM INVESTOR SERVICES, INC., its successors and/or assignees
                 7
                                          UNITED STATES BANKRUPTCY COURT FOR
                 8
                                           THE EASTERN DISTRICT OF CALIFORNIA
                 9
                                                    SACRAMENTO DIVISION
             10
                     In re:                                         Bk. No. 21-20922-FEC
             11
                     KYLE CURTIS ASH,                               Chapter 13
             12
                                                   Debtor,          DCN. No. RDW-001
             13
                                                                    EXHIBITS FOR DECLARATION IN
             14                                                     SUPPORT OF MOTION FOR RELIEF FROM
                                                                    THE AUTOMATIC STAY
             15
                                                                    Hearing-
             16                                                     Date: June 29, 2021
                                                                    Time: 09:00 AM
             17                                                     Place: Bankruptcy Court
                                                                           501 I Street, Seventh Floor
             18                                                            Courtroom 28
                                                                           Sacramento, California
             19                                                      VIA TELEPHONE/VIDEOCONFERENCE

             20      ACM INVESTOR SERVICES, INC., its successors and/or assignees, will refer to the following
                     Exhibits:
             21

             22           Exhibit                         Title                            Page

             23               1       Promissory Note                             2-4

             24               2       Deed of Trust with Assignment of Rents      5-11

             25               3       Assignment of Deed of Trust                 12-16

             26               4       Grant Deed                                  17-18

             27               5       Account Statement                           19-20
             28


                                                                    1
Filed 06/09/21     Case 21-20922   Doc 32




                 Exhibit “1”
Filed 06/09/21   Case 21-20922   Doc 32
Filed 06/09/21   Case 21-20922   Doc 32
Filed 06/09/21     Case 21-20922   Doc 32




                 Exhibit “2”
Filed 06/09/21   Case 21-20922   Doc 32
Filed 06/09/21   Case 21-20922   Doc 32
Filed 06/09/21   Case 21-20922   Doc 32
Filed 06/09/21   Case 21-20922   Doc 32
Filed 06/09/21   Case 21-20922   Doc 32
Filed 06/09/21   Case 21-20922   Doc 32
Filed 06/09/21     Case 21-20922   Doc 32




                 Exhibit “3”
Filed 06/09/21   Case 21-20922   Doc 32
Filed 06/09/21   Case 21-20922   Doc 32
Filed 06/09/21   Case 21-20922   Doc 32
Filed 06/09/21   Case 21-20922   Doc 32
Filed 06/09/21     Case 21-20922   Doc 32




                 Exhibit “4”
Filed 06/09/21   Case 21-20922   Doc 32
Filed 06/09/21     Case 21-20922   Doc 32




                 Exhibit “5”
Filed 06/09/21                               Case 21-20922                        Doc 32




                 Bankruptcy Filed: 03/16/2021
                 Due Date of Weekly Payment: 1st of the month
                 Payment Amount: $1,998.75

                 Date        Payment Payment Payment         Month     Suspense
                 Payment     Due Date: Amount Amount         Applied
                 Received:             Due:   Received:      To:
                 -           04/01/2021   $1,998.75   -      -         -
                 -           05/01/2021   $1,998.75   -      -         -
